Case 3:23-cr-00014-DJH Document 51-1 Filed 06/26/23 Page 1 of 1 PageID #: 426




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                                CASE NO: 3:23-CR-14-DJH

UNITED STATES OF AMERICA                                                          PLAINTIFF


V.


BRYAN DOUGLAS CONLEY                                                            DEFENDANT
                                             ORDER



          This matter is before the Court on Defendant Bryan Douglas Conley’s Motion in Limine

to Exclude Certain Psychological Evaluations. The Court being sufficiently advised,

          IT IS HEREBY ORDERED as follows:

          1. Defendant Conley’s Motion in Limine to Exclude Certain Psychological Evaluations is

GRANTED;

          2. All psychological and psycho-educational evaluations, and associated documents,

identified, though not Bates stamped, as USA1713 - USA1766 are excluded from a trial in this

matter.
